                   'Active Desktop* feature of Windows 98 to promote third party brands. These
                   restrictions similarly prevented OEMs from promoting rival browsers, such as
                   Navigator, on the systems they sold.

48.      Moreover, Microsoft used threats, such as higher price structures for Windows than those
         being paid by competitors, and incoitives, such as reductions in the royalty price of
         Windows, to induce especially important OEMs, such as Compaq, Gateway and IBM, to
         design their distributional, promotional and technical efforts to favour Internet Explorer
         to the exclusion of Navigator.

49.      When Microsoft's executives decided that the contractual restrictions placed on OEMs
         would not be sufficient to reverse the direction of Navigator's usage share, Microsoft set
         out, in late 1995 or early 1996, to technologically '*bind" its two separate products—
         Intemet Explorer and the Windows operating system. To that end, Microsoft excluded
         Intemet Explorer from the "Add/Remove Programs" utility in Windows 98 (although it
         had been included in that utility in Windows 95). Microsoft also commingled the code
         related to browsing with other codes in the same files in Windows. These acts forced
         OEMs to sell Windows with Intemet Explorer and prevented them from pre-installing
         non-Microsoft browsers because of the effect on OEM customer support costs and the
         possibility of end user confusion.

50.      In addition to its wrongful and anticompetitive acts in the OEM chaimel, Microsoft
         entered into additional anti-competitive agreements and arrangements to undermine any
         platform threat posed by Navigator including:

         (a)       enteringinto agreements with major lAPs to provide easy access to their services
                   from the Windows desktop in return for the lAPs* agreement to promote Intemet
                   Explorer exclusively and to keep shipments of intemet access software using
                   Navigator under a specified percentage. These agreements involved fourteen of
                   the top fifteen LAPs, which accounted for a large majority of all intemet access
                   subscriptions in North America. Microsoft's agreements thus helped keep usage
                   of Navigator below the critical level necessary for it to provide a real threat to




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